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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

_. UNITED.STATES DISTRICT COURT .
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. (For Offenses Committed On or After November 1, 1987}
AMMY ANAYANSI GONZALES (1) Case Number: 20CR3857-H

Maxine I. Dobro
Defendant’s Attorney

Registration Number: 74630-298

CL] -

THE DEFENDANT:

KX pleaded guilty to count(s) 1 of the Information.

L] was found guilty on count(s)

after a olea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

 

 

; . ; Count

Tithe & Section Nature of Offense ; Number(s)
18 USC 751(a), 4082(a) ESCAPE FROM FEDERAL CUSTODY (Felony) i]

The defendant is sentenced as provided in pages 2 through 2 _ of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
L] The defendant has been found not guilty on count(s) .
[1 Count(s) , is dismissed on the motion of the United States.
Assessment: $100.00.
Fine waived C) Forfeiture pursuant to order filed , included herein.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid, If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

January 11. 202]

Date of Imposition of Sentence

 

    

 

 

HONORABLE MARILYNGL HUFF
UNITED STATES DISTRICT JUDGE

 

JAN 11 2021

 

 

 

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SOUTHERN DISTRIG OF CALIFORNIA

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AO 245B (CASD Rev. 1/ 19) Judgment in a Criminal Case

 

DEFENDANT: AMMY ANAYANSI GONZALES (1) . Judgment - Page 2 of 2
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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
TIME SERVED TO RUN CONCURRENT WITH THE SENTENCE IMPOSED IN S.D. CAL CASE NO, 19CR1825-H.

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

OU

' (1 The defendant is remanded to the custody of the United States Marshal.

The defendant must surrender to the United States Marshai for this district:
C} at A.M. on

 

Li as notified by the United States Marshal.
Cc The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:
L! on or before
Cas notified by the United States Marshal.
[] as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
T have executed this judgment as follows:
Defendant delivered on to
at a > with a certified copy of this judgment.
UNITED STATES MARSHAL
By - DEPUTY UNITED STATES MARSHAL

20CR3857-H
